                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                         CIVIL MINUTES


Date: April 18, 2019                Time: 2:01-3:17                Judge: JACQUELINE
                                                                   SCOTT CORLEY


Case No.: 18-cv-02542-JSC           Case Name: Doe v. Morrison & Foerster LLP

Attorneys for Plaintiffs: Deborah Marcuse; David Sanford by Court Call
Attorneys for Defendant: Rachel Brass; Catherine Conway; Michele Maryott

Deputy Clerk: Ada Means                                Court Reporter: Katherine Sullivan

                                         PROCEEDINGS

Plaintiffs’ Motion to Proceed Under Pseudonyms (Dkt. No. 55); Defendant's Motion for

Judgment on the Pleadings (Dkt. No. 56), and initial case management conference held.



                              ORDERED AFTER HEARING

       Plaintiffs’ Motion to Proceed Under Pseudonyms (Dkt. No. 55) and Defendant’s Motion

for Sanctions (Dkt. No. 68) are denied for the reasons stated on the record. The Court will issue a

written order on Defendants’ Motion for Judgment on the Pleadings.
       The parties shall submit a joint letter to identify the private mediator by May 2, 2019. The

second amended complaint shall be due twenty days after the Court’s ruling on the Motion for

Judgment on the Pleadings. A further case management is set for August 31, 2019 at 1:30 p.m.

and a joint case management conference statement shall be filed seven days prior.


Order to be prepared by:
[ ]   Plaintiff               [ ]      Defendant            [x ]    Court
